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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
     Plaintiff,                      )
                                     )     4:06CR3016
     v.                              )
                                     )
ARMANDO GARCIA-DELACRUZ and          )       ORDER
MARCO M. PRUNEDA,                    )
                                     )
     Defendant.                      )


     IT IS ORDERED:

     1. Defendant Garcia-Delacruz’s motion, filing 50, for leave
to join in the motions and supporting briefs filed by defendant
Pruneda (documents 45, 46, 47, 48 and 49) is granted.

     2. An evidentiary hearing on defendant Pruneda’s motion to
suppress evidence, filing 46, will be held jointly with the
suppression hearing on Armando Garcia-Delacruz’s motion to
suppress evidence, filing 39, on October 3, 2006 beginning at
1:30 p.m. in Courtroom #2, United States Courthouse and Federal
Building, 100 Centennial Mall North, Lincoln, Nebraska. The
court has set aside two hours for this hearing.

     3. Defendants, their counsel, and counsel for the
government shall be present at this hearing.

     4. Pursuant to NECrimR 12.5, copies of all exhibits
expected to be offered into evidence during the hearing, except
those to be used for impeachment only, shall be delivered to the
chambers of the undersigned at least twenty-four (24) hours
before the hearing and, at the outset of the hearing, to the
extent reasonably possible, the parties shall provide the
undersigned and the courtroom deputy with a written list of all
witnesses the parties expect to call.

     5. As to both defendants, the trial of this case is
continued until further order of the court following resolution
of outstanding motions.

     Dated September 25, 2006.

                                    BY THE COURT

                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
